        Case 3:16-ap-00235-PMG          Doc 20     Filed 08/07/17     Page 1 of 5



                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


In re                                        )

JONATHAN M. MORRIS,                          )       Case No. 3:16-bk-2229-PMG

               Debtor.                       )       Chapter 7

___________________________________ )

RIMROCK DESIGN, INC., a                      )
Florida corporation,
                                             )       Adversary No. 3:16-ap-235-PMG
               Plaintiff,
                                             )
v.
                                             )
JONATHAN M. MORRIS,
                                    )
            Defendant.
___________________________________ )


               PLAINTIFF’S RESPONSE TO DEFENDANT’S
            MOTION FOR SANCTIONS AGAINST PLAINTIFF FOR
         FAILURE TO ATTEND DEPOSITION HELD ON JULY 21, 2017


        Plaintiff, Rimrock Design, Inc. (“Plaintiff”), responds to the motion for sanctions

against Plaintiff for failure to attend the deposition held July 21, 2017 (the “Motion for

Sanctions”) filed by Jonathan M. Morris (“Defendant”) on July 24, 2017 [Docket No.

18], and states:

        1.     Defendant filed his Chapter 7 bankruptcy petition on June 14, 2016 (the

“Petition Date”).

        2.     Prior to the Petition Date, Defendant had been employed as Plaintiff's

Estimating Manager, responsible for preparing proposals, bids and estimates to Plaintiff’s
        Case 3:16-ap-00235-PMG            Doc 20    Filed 08/07/17     Page 2 of 5



customers in connection with the sale of Plaintiff's products and services nationwide. In

that capacity, Defendant was continually exposed to Plaintiff’s internal, proprietary cost

and pricing strategies.

       3.        In conjunction with his work at Plaintiff, Defendant executed a Covenant

Not to Compete (the “Morris Non-Compete”). Defendant, acting in concert with one or

more of Plaintiff’s employees, breached the Morris Non-Compete as more fully set forth

in the complaint filed in this matter.

       4.        On October 28, 2016, Plaintiff filed this adversary complaint against

Defendant seeking to except debts associated with the breach of the Morris Non-Compete

from discharge pursuant to 11 U.S.C. §§ 523(a)(2)(A), (a)(4) and (a)(6) [Docket No. 1].

       5.        On June 5, 2017, counsel for Defendant requested, in an email to

undersigned, possible dates for the deposition two of Plaintiff’s principals. At or about

the same time, counsel for Plaintiff underwent a change in its administrative staffing and

inadvertently failed to obtain any deposition dates in response to the request from counsel

for Defendant.

       6.        Rather than send a follow up request, on June 16, 2017, counsel for

Defendant unilaterally set the depositions of Plaintiff’s principals for July 21, 2017.

Undersigned immediately advised Defendant of a pre-existing conflict that precluded his

attendance on July 21, 2017, namely a previously scheduled trip to Cincinnati, Ohio to

attend a family wedding. Though the parties discussed potential alternative dates to hold

the depositions, a final date was not agreed to by the parties.

       7.        Nonetheless,   despite   having     knowledge    of   the   undersigned’s

unavailability, and despite the parties’ correspondence on the matter being limited to a



                                              2
        Case 3:16-ap-00235-PMG          Doc 20     Filed 08/07/17    Page 3 of 5



total of five emails sent on June 5 and June 16, collectively, counsel for Defendant

apparently proceeded with the deposition on Friday, July 21, 2017.

        8.      On Monday, July 24, 2017, Defendant filed the Motion for Sanctions.

        9.      The undersigned admits that, in hindsight, confirmation of a continued

date for the depositions would have resolved this situation short of court intervention.

That said, in nearly 14 years of practice, never has the undersigned experienced opposing

counsel proceeding with a unilaterally scheduled deposition despite having been

immediately advised of his unavailability, particularly so far in advance of the actual

deposition itself.

        10.     Plaintiff respectfully suggests that the relief sought in this Motion for

Sanctions is overly broad compared to the alleged injury suffered by the Defendant in this

case and, therefore, the Motion for Sanctions should be denied, based in large part on a

lack of good faith on the part of Defendant in maintaining the deposition date despite the

stated unavailability of the undersigned to attend same.




                                             3
       Case 3:16-ap-00235-PMG        Doc 20    Filed 08/07/17   Page 4 of 5



       WHEREFORE, Rimrock respectfully requests entry of an order (i) denying

Defendant’s Motion for Sanctions, and (ii) granting such further relief as is deemed

appropriate.


                                         THAMES MARKEY & HEEKIN, P.A.

                                               /s/ Robert A. Heekin, Jr.
                                         By________________________________
                                               Robert A. Heekin, Jr.

                                         Florida Bar Number 0652083
                                         50 North Laura Street, Suite 1600
                                         Jacksonville, Florida 32202
                                         (904) 358-4000
                                         (904) 358-4001 (Facsimile)
                                         rah@tmhlaw.net

                                         Attorneys for Rimrock Design, Inc.




                                         4
        Case 3:16-ap-00235-PMG           Doc 20     Filed 08/07/17   Page 5 of 5



                                   Certificate of Service


       I hereby certify that on August 7, 2017, the following pleading was transmitted to

the Clerk of the Court for uploading to the Case Management/Electronic Case Files

System, which will send a notice of electronic filing to Bryan K. Mickler, Esq., Law

Offices of Mickler & Mickler, LLP, 5452 Arlington Expressway, Jacksonville, Florida

32211 (bkmickler@planlaw.com), and all creditors and parties in interest who have

consented to receiving electronic notices in this case.


                                                    /s/ Robert A. Heekin, Jr.
                                              ____________________________________
                                                           Attorney

74




                                              5
